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             EXHIBIT 19
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                                                                    Illinois Public Libraries

               Statewide Statistical Analysis
                                                                       Fiscal Year 2005-06




                                                                                          Produced By
                                                        The Library Research Center
                                                            University of Illinois at Urbana-Champaign

                                                                                                   For
                                                               The Illinois State Library
                                                    Jesse White, Secretary of State and State Librarian

                                                                                     NIFLA 02027
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Of the 650 public libraries in Illinois, 645 submitted an annual report for the 2006 fiscal year (between July 1, 2005
and June 30, 2006). A summary of those reports is presented below.


 Population Served
    The total state resident                                                Illinois Public Libraries
    served for these 646
                                                               By Size of Population Served (FY 2006)
    libraries is 11.6 million.
    Of those residents served
    by a public library, 55.27
    percent had a resident
    borrower card. They
    issued 33,609 non-
    resident cards. The
    average cost for a non-
    resident borrower card                           112
                                                                                           121
    was $68.18.                              102                               101
                                                                   83
    The chart to the right                                                                               69
    includes only those
                                                                                                                   25
    libraries that did not                                                                                                    13            1
    contract out all their
                                        Less than   1,500 to     3,000 to     5,000 to   10,000 to    25,000 to 50,000 to   75,000 to    250,000
    services (the term of                 1,500       2,999        4,999        9,999     24,999       49,999    74,999      249,999     o r mo re
    “contractor library” is used
    hereafter).




 Facilities
    The chart below shows the percentages of public libraries by administrative type. Of the 644 libraries, there were
    326 district public libraries: 163 city, 98 village, 48 township, 6 town, and 3 marked as “other.”
    The number of bookmobiles in Illinois was 24. Four branch libraries were opened and two branch libraries were
    closed, resulting in a total of 164 branch libraries.


                                                     Illinois Public Libraries
                                              In %, by Administrative Type (FY 2006)
                                                                            Tow nship,
                                                                              7.45
                                                       Tow n, 0.93                                   Village, 15.22

                                                                                                              Other, 0.47



                           District, 50.62
                                                                                                        City, 25.31




                                                                                                                                                      2
                                                                                                                                        NIFLA 02028
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 Service Hours
  In 2006, central libraries, excluding branch                               Average Number of Hours Open Per Week
  libraries, bookmobiles, and the contractee
                                                                              By Size of Population Served (FY 2006)
  libraries, were open an average of 47.93
  hours per week (total responses=627
                                                                                           27.4
  libraries). 91 percent of the central                         Less than 1,500
  libraries served an average of 8.00 hours a
                                                                  1,500 to 2,999                35.4
  week past 6 p.m. 96 percent of them were
  open an average of 5.87 hours on                                3,000 to 4,999                     42.6
  Saturday; 35 percent were open an average
  of 4.07 hours on Sunday.                                        5,000 to 9,999                          51.1

  The chart to the right shows that, except                     10,000 to 24,999                            60.6
  for libraries serving 250,000 or more
  persons, the larger the size of population                    25,000 to 49,999                                 66.0
  served by a central library, the more hours
  per week it was open.                                         50,000 to 74,999                                 69.4

                                                               75,000 to 249,999                                  71.4

                                                                250,000 or more                             60.0

                                                                                    0     10         20      30         40   50    60   70   80



 Attendance
  In 2006, over 59.85 million visits or 6.91 visits per capita (for 619 contractor libraries) were made to Illinois
  public libraries. Since last year (2005), total attendance at Illinois public libraries increased about 5 percent. If
  comparing to 2001, five years ago, total attendance at Illinois public libraries is about the same.


                                                Attendance Per Capita                                                        The chart to the
                                                                                                                             left shows
                                     By Size of Population Served (FY 2006)
                                                                                                                             attendance per
                                                                                                                             capita by the size
          8
                                                                                                                             of population
          7                                                                                                                  served.
          6                                                                                                                  Attendance per
                                                                                                                             capita was
          5
                                                                                                                             highest at public
          4                                                                                    7.5                           libraries serving
                6.4
                                                      7.0          7.0          6.9                              6.9         populations of
          3
                            5.3           4.9                                                                                between 50,000
          2                                                                                                                  and 74,999
          1                                                                                                                  persons.
                                                                                                                             Attendance per
          0
                                                                                                                             capita was lowest
              Less than   1,500 to      3,000 to    5,000 to     10,000 to    25,000 to   50,000 to         75,000 to
                1,500       2,999        4,999        9,999       24,999       49,999      74,999            249,999         at public libraries
                                                                                                                             serving
                                                                                                                             populations of
                                                                                                                             between 3,000
                                                                                                                             and 4,999.
         In 2006, attendance at programs specifically targeted for children represented 4.37 percent of total
         attendance at those Illinois public libraries (total responses=612 libraries).




                                                                                                                                  NIFLA 02029
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 Materials Owned
  In 2006, public libraries in Illinois held 43.28 million books, up 5 percent since 2005 (responses N=626
  contractor libraries); 2.53 million audio recordings, about the same since 2005 (total responses=624 contractor
  libraries); 1.97 million videos and/or films, up 9.4 percent since 2005 (total responses=621 contractor libraries);
  0.40 million e-books (responses N=626). Except for the Chicago Public Library, on average, each library
  subscribed to 151 print magazines and newspapers, down 9 percent since 2005. On average, each library had 9
  electronic serial subscriptions, 9 times of that in 2005.



 Reference Questions
  In 2006, on average one out of every 5.88 visitors to library in Illinois asked a reference question (total
  responses=610 libraries). This figure in 2005 was 5.1. In 2006, on average, each of these 610 libraries
  responded to 16,849 reference questions.


  The chart to the right shows the                              Reference Questions Per Capita
  average number of reference
                                                            By Size of Population Served (FY 2006)
  questions asked per capita by the size
  of the population served. The largest           Less than 1,500                  1.0
  number of reference questions asked
                                                    1,500 to 2,999           0.8
  per capita occurred in libraries serving
  populations of between 75,000 and                 3,000 to 4,999             0.9
  24,999, with 1.4 reference questions
                                                    5,000 to 9,999                       1.2
  asked per capita.
  The lowest number of reference                 10,000 to 24,999                    1.1
  questions asked per capita occurred in         25,000 to 49,999                    1.1
  libraries serving populations of
  between 1,500 and 2,999, with 0.8              50,000 to 74,999                        1.3
  reference questions asked per capita.
                                                75,000 to 249,999                          1.4

                                                                     0             0.5           1              1 .5


  Among those libraries reporting the number of reference questions asked in the adult’s department and the
  children’s department in 2006, 29.85% of all reference questions were asked in children’s department (total
  responses=580 libraries).




                                                                                                 NIFLA 02030
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 Materials Loaned
  Statewide, Illinois public libraries loaned 8.35 items per capita in 2006 (total responses=626 libraries). For every
  visit to an Illinois public library, 1.54 items were loaned (total responses=620 libraries).
  The chart to the right                                 Materials Loaned Per Capita and Per Visit
  shows the number of
                                                          By Size of Population Served (FY 2006)
  materials loaned per
  person served by an        14                                                                            13.07
                             13                                                                                        11.95
  Illinois public library    12
                                                                                               11.56
                                                                     Per Capita
  (per capita) and per       11
  person visiting the        10                                      Per Visit
                                                                                   8.27
                              9
  library (per visit) by      8
                                    7.51       7.44        7.04
                                                                         7.68
  the size of                 7
  population served by        6
                              5
  the library in 2006.        4
                                               1.75        1.67                                 1.63        1.70        1.68        2.40
                              3     1.52                                 1.39       1.29
                              2
                              1
                              0
                                  Less than   1,500 to    3,000 to     5,000 to   10,000 to   25,000 to   50,000 to   75,000 to   250,000 o r
                                    1,500       2,999      4,999        9,999      24,999      49,999      74,999      249,999      mo re



  The number of materials loaned per visit ranged from 1.29 at public libraries serving 10,000 to 24,999
  persons to 1.75 at public libraries serving from 1,500 to 2,999 persons. Materials loaned per capita
  varied more widely, from a minimum of 2.40 at public libraries serving 250,000 or more persons to a
  maximum of 13.07 at public libraries serving from 50,000 to 74,999 persons.
  From 1996 to 2005, the overall proportion of materials loaned in Illinois that were children’s (age 14 or
  younger) remained fairly constant at around 40 percent. However, this figure has decreased to 34.88%
  in 2006.
  In 2006, 80 Illinois public libraries circulated more children’s materials than adult materials. On
  average, the children’s materials circulated in these libraries were 1.15 times that of the adult materials
  circulated.



 Interlibrary Loans
  In 2006, 53 interlibrary loans per 100 persons were provided and 48 interlibrary loans per 100 persons were
  received. Since last year the total number of interlibrary loans provided by Illinois public libraries increased 25.03
  percent from 2,975,646 in 2005 to 3,720,524 in 2006. The total number of interlibrary loans received by Illinois
  public libraries increased 21.36 percent from 3,056,815 in 2005 to 3,709,897 in 2006.
  The chart below shows the number of interlibrary loans provided and received by library systems in Illinois during
  2006. The Lincoln Trail Libraries System had the largest number of interlibrary loans provided at 94.30 per 100
  persons. The Lewis and Clark Library System had the second largest number of interlibrary loans provided at
  70.14 per 100 persons.
  The Lincoln Trail Libraries system had the largest number of interlibrary loans received at 93.48 per 100 persons.
  The Lewis and Clark Library System had the second largest number of interlibrary loans received at 62.08 per 100
  persons.




                                                                                                                                                5
                                                                                                                               NIFLA 02031
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                             Interlibrary Loans Provided and Received By Library System
                                                    Per 100 Persons (FY 2006)

          100                                                93.48
           90                                                                     Loans Provided
           80                                                                     Loans Received
           70                                  62.08
                                                                        56.03                               57.39
           60
           50                                                                                 45.16                    42.92
           40                                                                      34.34                                          32.01
                                    28.17
           30
           20
                   8.01 0.29
           10   8.13        0.15 24.23      70.14      94.30         52.24      40.81      38.60      61.03         46.96      32.10
            0
                 ALS      CPL      DLS        LCLS         LTLS        MLS       NSLS       PALS        RPLS          SHLS       ALL




 Reciprocal Loans
  Reciprocal loans are materials lent directly to card holders from other libraries. In 2006, 96.2 percent of Illinois
  public libraries reported participating in reciprocal borrowing (total responses=578 libraries). Among these
  libraries, total over 9.61 million reciprocal loans, or 91.22 loans per 100 Illinois residents, were made in 2006.


  The chart to the                                    Reciprocal Loans by Library System
  right shows the
                                                              Per 100 Persons (FY 2006)
  number of
  reciprocal loans by       200                                                          185.58
  library system.           180
                                                                       156.41
  The North                 160
  Suburban Library          140
  System reported           120                                                 110.00
                                                     96.76
  the largest number        100   88.33                                                                                         82.94
  of reciprocal loans        80                               58.72
                                                                                                   70.75
                                                                                                             59.34
  at 185.58 per 100          60
  persons, followed          40
                                                                                                                       12.86
  by the Lincoln Trail       20             4.26
  Library System              0
  with 156.41 loans               A LS      CP L     DLS       LCLS     LTLS     M LS      NSLS    P A LS     RP LS    SHLS      A LL

  per 100 persons.




                                                                                                                                             6
                                                                                                                               NIFLA 02032
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 Automation
  Computer Equipment Owned By Illinois Public Libraries
  In 2006, 98.58 percent of all public libraries reported owning at least one microcomputer (total responses=635
  libraries).
  Of those computers owned by Illinois public libraries (total 21,870 computers):

          99.22 percent are IBM-compatible
          0.78 percent are Macintosh computers

  Of the 635 libraries responded, 13 libraries reported they did not own a printer. The total number of printers
  owned by Illinois public libraries was 6,514.
  Of the 645 libraries responded, 632 libraries had general software applications (i.e., word processors,
  spreadsheets, databases, etc.) installed on those computers.


  Computer Equipment Available for Public Use
  In 2006, 99.84 percent of libraries reported having at least one computer available for public use (total
  responses=627 contractor libraries). Since last year, the total number of computers available for public use
  increased 6.17 percent from 11,189 in 2005 to 11,879 in 2006. Of those computers available for public use in
  Illinois public libraries:

          99.15 percent are IBM-compatible
          0.85 percent are Macintosh computers

  The table to the right shows the number of                    Available For Public Use
  computers and printers available for public
                                                          In Illinois Public Libraries (FY 2006)
  use (total responses=638 libraries).
                                                  Total Number            Computers                Printers
  The average number of in-house users of
                                                  Available                (percent)           (percent)
  electronic resources in a month for libraries
  who have in-house users was 1,757 (total        Zero                            1.71               2.95
  responses=607 libraries).                       One                             2.64              24.50
                                                  Two                             7.44              32.71
                                                  Three                           9.61              13.80
                                                  Four                           10.08               8.22
                                                  Five                            5.74               5.12
                                                  Six                             7.91               2.64
                                                  Seven                           4.81               1.09
                                                  Eight                           4.19               1.40
                                                  Nine                            3.57               1.71
                                                  Ten                             2.64               0.93
                                                  More Than Ten                  39.69               4.96
                                                  Total                          100.0              100.0




                                                                                                                   7
                                                                                                    NIFLA 02033
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 Internet Access
  The table to the right shows                                Internet Connection Providers
  the proportion of public
                                                        Percent of Public Libraries Which Used
  libraries which used each type
  of internet connection provider                                             FY 2006
  (total responses=626
                                     Illinois Century Network (ICN) ............................................. 50.2%
  libraries). The most frequently
  used internet connection           Another local/state government organization1...................... 2.2%
  providers were ICN and
  commercial providers.              Local educational organization ............................................. 2.2%

                                     Community Information Network (Free-Net) ......................... 3.8%

                                     Library system network ....................................................... 10.4%

                                     Commercial provider........................................................... 36.7%

                                     Other .................................................................................. 11.2%

  Of the 620 public libraries who answered the following questions:

         98.4 percent provided internet access directly to patrons and staff
         1.5 percent provided internet access to patrons through a staff intermediary
         0.2 percent provided internet access to library staff only

  Of the public libraries who answered the following questions:

         97.34 percent had workstations/terminals that had internet access for public use (N=639)
         97.6 percent had library board adopt an Internet policy for public access (N=625)
         98.6 percent allowed patrons to make printouts of materials obtained from the internet (N=635)
         61 percent provided instruction (workshops, classes) to patrons on the use of the internet (N=634)

  Online Public Access Catalogs
  In 2006, 78 percent of libraries in Illinois reported their catalog records were part of an online public access
  catalog total responses (total responses=636 libraries). Of those public libraries whose catalog records are part
  of an OPAC, 97.6 percent offered patrons access to the OPAC from outside their public library (total
  responses=466 libraries).


  ______________________
  1 e.g., county/state information services department.




 Telephone Devices for the Deaf
  In 2006, 31.1 percent of libraries owned telephone devices for the deaf (TDD) (total responses=635 libraries). A
  total number of 204 telephone devices for the deaf (TDD) (N=190 libraries which had at least one TDD). Of those
  public libraries with a TDD, 72.6 percent had a TDD available for public use (N=190 libraries).




                                                                                                                                      8
                                                                                                                       NIFLA 02034
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 Equalized Assessed Valuation
  The chart and table below show Equalized Assessed Valuation (EAV) of public library service areas by library
  system. The North Suburban Library System had the largest total EAV; followed by the Chicago Public Library
  System. The lowest total EAV was found in the Shawnee Library System. The Chicago Public Library System and
  the North Suburban Library System had the largest averaged EVA by number of library. The Shawnee Library
  System had the lowest figure in this category.


                                      Equalized Assessed Valuation (in millions)
                                        of Illinois Public Library Service Areas
                                              By Library System (FY 2006)
       $65,000
       $60,000            $55,277                                            $54,288
       $55,000
       $50,000
       $45,000
       $40,000
       $35,000                                                     $32,304
       $30,000                      $24,505
       $25,000                                                                         $21,490
       $20,000
       $15,000
                 $8,231
       $10,000                                $4,561     $3,809                                  $4,678   $2,863
        $5,000
            $0
                  ALS       CPL       DLS      LCLS        LTLS     MLS       NSLS      PALS     RPLS     SHLS




                              Averaged Equalized Assessed Valuation (in millions)
                           of Illinois Public Library Service Areas by Number of Library
                                                       (FY 2006)
                          Chicago Public Library System                            $55,277
                          North Suburban Library System                             $1,155
                          DuPage Library System                                      $875
                          Metropolitan Library System                                $443
                          Prairie Area Library System                                $181
                          Rolling Prairie Library System                             $104
                          Lewis and Clark Library System                               $84
                          Alliance Library System                                      $77
                          Lincoln Trail Library System                                 $75
                          Shawnee Library System                                       $38




                                                                                                                   9
                                                                                                  NIFLA 02035
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          Funding
       In 2006, Illinois public libraries reported total funding of $693,685,920. On average, each library spent $51.42
       per capita in funding (total responses=645 libraries); with $605,762,268 (87.32 percent) from local funding
       (including capital income from bond sales), $32,841,110 (4.73 percent) from state funding, $3,464,461 (0.50
       percent) from federal funding, and $51,652,113 (7.45 percent) from other sources. 1 The chart below shows
       funding per capita by source.


                                                          Funding Per Capita
                                                              (FY 2006)

                                          $50      $41.80
                                          $40
                                          $30
                                          $20                                                  $6.14
                                                                   $2.59            $0.96
                                          $10
                                            $0
                                                    Local            State         Federal     Other




       The chart below shows the total funding per capita by library system. The highest funding per capita occurred in
       the North Suburban Library System, followed by the Metropolitan System and the DuPage Library System. The
       lowest funding per capita occurred in the Shawnee Library System and the Lewis and Clark Library System.




                                                      Total Funding Per Capita
                                                    By Library System (FY 2006)

        $120
                                                                                     $106.35
                                                                        $102.08
        $100
                                     $87.28

         $80

         $60
                          $38.97                                                               $41.64   $41.04
                $34.93                                      $35.40
         $40                                     $28.87
                                                                                                                  $19.82
         $20

          $0
                 ALS        CPL       DLS        LCLS       LTLS             MLS      NSLS     PALS     RPLS      SHLS




1   Other sources include Bill and Melinda Gates Foundation grant monies received, endowment income, gifts and donations, fines,
payments for contract services, interest income, and receipts from a library system or from a loan or mortgage.
                                                                                                                                   10
                                                                                                               NIFLA 02036
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 Expenditures
       In 2006, Illinois public libraries (N=624)                                            Expenditures Per Capita
       reported total expenditures of
                                                                                                  By category (FY 2006)
       $477,864,390 or $43.99 per capita;
       $237,520,282 (49.7 percent) for salaries,
       $60,571,080 (12.7 percent) for benefits,                          $25       $20.91
       $43,672,389 (9.1 percent) for print                               $20
       materials, $9,987,399 (2.1 percent) for                           $15                                                                        $12.32
       electronic materials, $11,190,626 (2.3                            $10                     $4.57
       percent) for other materials, and                                  $5
                                                                                                             $4.59        $0.67         $0.93
       $114,922,614 (24 percent) for all other                            $0
       expenditures 2 . The chart to the right shows                                                             s            s                        s
       operating expenditures per capita.                                          ies       fits            ial          ial           ial s       ure
                                                                            l ar           ne            ter          ter           ter         di t
                                                                          Sa             Be         M  a           M a
                                                                                                                               rM
                                                                                                                                  a           en
                                                                                                 nt             ic
                                                                                                                         the               xp
       In addition, Illinois public libraries (N=617)                                        Pr i       c tron         O             ngE
                                                                                                                                  ti
       spent $49,424,138 ($4.18 per capita) for                                                     El e                        ra
                                                                                                                             pe
                                                                                                                        rO
       capital expenditures.                                                                                       Ot
                                                                                                                     h e




       The chart below shows the expenditures per capita by library system. The highest expenditures per capita
       occurred in the North Suburban Library System, followed by the Metropolitan Library System and the DuPage
       Library System. The lowest expenditures per capita occurred in the Shawnee Library System and libraries that did
       not belong to any system.


                                                          Expenditures Per Capita
                                                        By Library System (FY 2006)


              $100                                                         $92.51
               $90                                              $85.34

               $80              $75.92

               $70
               $60
               $50
               $40    $32.05                                                                 $34.66         $33.71
                                                       $29.74
                                          $26.10
               $30
                                                                                                                           $19.38          $19.39
               $20
               $10
                $0
                       ALS       DLS       LCLS        LTLS      MLS           NSLS           PALS           RPLS            SHLS          NONE




2   Other expenditures include expenditures for library and general office supplies, processing costs, commercial binding and
rebinding, equipment, rent, utilities, repairs, etc.
                                                                                                                                                             11
                                                                                                                                         NIFLA 02037
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 Public Library Staff
  On average, each library reported 10.64 full-time equivalent (FTE) library staff (adjusted to a 40 hour work week),
  not including librarians (N=526). Of those FTE library employees, 8.06 were technical and clerical employees,
  1.91 were pages and shelvers, and less than 1 (0.67 FTE) was building maintenance, security, and plant
  operations employees.
  The table below shows the average minimum and average maximum hourly wage for library.


                                                                                      Hourly Wage: Public Library Staff
                                                                                                            (FY 2006)
                                                                                                                                                     Average                 Average
                                             Library Staff                                                                                          Minimum                Maximum
                                             Technical and Clerical                                                                                        $8.03                $14.34
                                                                                                                                                      (N=477)                 (N=468)
                                             Pages and Shelvers                                                                                            $6.91                   $8.11
                                                                                                                                                      (N=274)                 (N=310)
                                             Building Maintenance and Security                                                                          $10.80                  $13.74
                                                                                                                                                      (N=339)                 (N=338)




 Public Librarians
  Of the 3,022 librarians reported in Illinois in 2006, there were 2,330 full-time equivalent (FTE) librarians (adjusted
  to a 40 hour work week) (N=616).
  The chart below shows the number of FTE librarians reported by Illinois public libraries by primary work area (the
  work area where the most time is spent). The primary work area with the largest number of FTE librarians was
  head librarians, followed by reference librarians and children’s librarians. The primary work areas with the
  smallest number of FTE librarians were bookmobile and ILL/Document Delivery.

                                                                                Number of Full-Time Equivalent Librarians
                                                                                           By Primary Work Area (FY 2006)

   1200
   1000
    800
    600          506.93
                                                                                                                                                             449.03 435.73
    400                                                                                                                                                                                                  236.45
                                                                                                   168.40                       129.60
    200                              110.75 79.35                      67.88                                                                                                                                          82.73
                                                                                       7.53                        33.75                        14.38                                       34.05
      0
                                                                     s         ile                g                                             y                                                                       er
                     ian                    or            ian                                  in                 ns          io
                                                                                                                                 n            er            ce              es              es                s
                  ar                   ct              ar         te
                                                                    m       ob              og               i tio         lat            li v          en              vi c           v ic             v ic e        th
              ibr                  i re              r         y s         m         ta
                                                                                          l
                                                                                                         ui
                                                                                                            s             u              e            r               r              r                 r          O
          L                    D                  Lib        /S          ok                                            rc             tD            fe              Se             Se                e
     ad
                           y                    t.         on          Bo          Ca                  cq            Ci            en             Re             's             lt               lt S
                        ar                     s         ti                                        / A                                                          n              u               u
   He                br                     As          a
                                                                                              ion                               um                         ldr
                                                                                                                                                               e            Ad               Ad
                   Li                                  m
                                                                                            ct                               oc
          st.                                       uto                                 le                               / D                         C  hi             n g
                                                                                      l                                                                              u
       As                                          A
                                                                                   Co                                 IL
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 Public Librarian Salaries
  The table below shows the median hourly wage for ALA-accredited MLS degree holding librarians (58.6 percent of
  all Illinois public librarians) by primary work area (the work area where the most time is spent) and gender. Only
  contractor libraries are included.


                                                                          Public Librarians with an ALA Accredited MLS Degree
                                                            Median Hourly Wage by Primary Work Area and Gender (FY 2006)


                                                                                                              Male                                                Female
                                                                                                         Median                                            Median                                           Wage
                          Primary Work Area                                                             Rate ($)               Number                     Rate ($)             Number                   Gap (%)
                          Head Librarian                                                                   38.71                        63                   30.52                   178                   26.83
                          Asst. Library Director                                                           32.03                        18                   32.31                    53                   -0.87
                          Asst. Librarian                                                                    NA                          0                   27.70                     2                     NA
                          Automation/Systems                                                               28.14                        19                   29.09                    22                   -3.27
                          Bookmobile                                                                       21.81                         1                   28.97                     4                  -24.72
                          Cataloging                                                                       22.36                        20                   22.58                   111                   -0.97
                          Collection/Acquisitions                                                          26.12                         4                   26.81                    23                   -2.57
                          Circulation                                                                      29.80                         2                   24.28                    22                   22.73
                          ILL/Document Delivery                                                              NA                          0                   23.64                     3                     NA
                          Reference                                                                        20.68                        94                   21.44                   440                   -3.54
                          Children’s Services                                                              21.10                        17                   22.14                   327                   -4.70
                          Yong Adult Services                                                                NA                          0                   20.35                    26                     NA
                          Adult Services                                                                   20.37                        41                   22.82                   200                  -10.74
                          Other                                                                            21.59                         5                   27.71                    50                  -22.09
                          All                                                                              23.66                       284                   22.96                  1461                    3.05

  The chart below shows the median hourly wage for librarians with an ALA-accredited MLS degree by primary work
  area. Head librarians earned the highest median hourly wage, followed by the asst. library directors and
  automation librarians. The lowest median hourly wage was reported for young adult services.


                                                                          Public Librarians with an ALA Accredited MLS Degree
                                                                          Median Hourly Wage by Primary Work Area (FY 2006)




                        32.31                   32.24
                                                                  27.70       28.14          27.05                          26.81          25.93                                                                                  26.55
                                                                                                             22.58                                        23.64           21.25          22.06          20.35          22.51




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 Per Capita and Equalization Grants
  The Library Research Center processed data from the Per Capita and Equalization Aid Grant applications for fiscal
  year 2005. These grants, awarded to qualifying libraries, can not be used for normal library operations.
  In 2005, the Illinois State Library awarded over $14.8 million in Per Capita Grants to 620, or 98.7 percent of,
  public libraries. The average Per Capita Grant awarded to a library was $23,936.
  The chart below shows the reported uses of the Per Capita Grant awarded in the previous fiscal year (2005). The
  largest uses of the Per Capita Grant awarded in fiscal year 2005 were for personnel (31.8 percent) and adult
  materials (30.8 percent).

                            Uses of the Per Capita Grant Awarded for Fiscal Year 2005

                         Personnel                          31.8%
                    Adult Materials                        30.8%
               Children's materials                15.3%
                Electronic Access           6.3%
              Contractual Services        3.1%
                        Equipment         2.9%
                              Other       2.7%
                   Public Relations       2.4%
                          Programs       1.7%
              Continuing Education       1.0%
                           Supplies     0.8%
              Telecommunications        0.8%
                             Travel     0.3%

                                      0%           20%       40%         60%          80%         100%

  Twelve public libraries were also eligible to receive an Equalization Aid Grant in 2005. The Illinois State Library
  awarded those libraries an average of $11,810 for a total of $141,722.
  The chart below shows the reported uses of the Equalization Aid Grant awarded in the previous fiscal year (2005).
  The largest use of the Equalization Aid Grant awarded in fiscal year 2005 was personnel (96.5 percent), followed
  by adult materials (1.5 percent).

                           Uses of the Equalization Aid Grant Awarded for Fiscal Year 2005

                           Personnel                                                                 96.5%
                      Adult Materials       1.5%
                                Other       1.2%
                             Supplies      0.4%
                            Programs       0.2%
                     Public Relations      0.1%
                 Children's materials      0.1%
                Contractual Services       0.0%
                Telecommunications         0.0%
                               Travel      0.0%
                  Electronic Access        0.0%
                          Equipment        0.0%
                Continuing Education       0.0%

                                        0%          20%        40%         60%          80%         100%




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